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                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF NEW YORK

GEIGTECH EAST BAY LLC,

                    Plaintiff,
                                                        Civil Action No. 1:18-cv-05290 (PAE)
       v.
                                                             JURY TRIAL DEMANDED
LUTRON ELECTRONICS CO., INC.,

                   Defendant.


            [PROPOSED] ORDER GRANTING PRELIMINARY INJUNCTION

       Upon consideration of Plaintiff’s Motion for Preliminary Injunction, the parties’ briefing,

and oral argument, this Court finds that Plaintiff has demonstrated a need for preliminary

injunctive relief in this case. IT IS HEREBY ORDERED that Plaintiff’s Motion is

GRANTED.

       Plaintiff has shown (1) a likelihood of success on its patent and trade dress infringement

causes of action; (2) that it will suffer irreparable injury if the injunction is not granted; (3) that

the balance of equities tip in its favor; and that (4) a preliminary injunction strongly favors the

public interest. See Winter v. Natural Resources Defense Council, Inc., 555 U.S. 7, 19 (2008).

       Accordingly, it is hereby ORDERED that, pending a trial on the merits, Defendant and

all its respective officers, agents, servants, employees, attorneys, and persons acting in concert of

participation with them are hereby preliminarily enjoined from making, marketing, offering for

sale, or selling Lutron’s Palladiom Shading System or any shading system of substantially the

same design, pending the outcome of this proceeding.

IT IS SO ORDERED this _____ day of ____________________, 2018.


                                       UNITED STATES DISTRICT JUDGE


[PROPOSED] ORDER GRANTING PRELIMINARY INJUNCTION
